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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )             CASE NO. 8:05CR75
                                                )
              Plaintiff,                        )
                                                )                    ORDER
              vs.                               )
                                                )
RASHELL L. ROTH,                                )
                                                )
              Defendant.                        )


       This matter is before the Court on the Plaintiff’s motion to extend his self surrender

date to one month following January 6, 2006 (Filing No. 105).

       The Court will grant the request to continue the self surrender date. However, the

Court cautions that it is unlikely that any further continuances will be granted.

       IT IS ORDERED:

       1.     The Plaintiff’s motion to extend his self-surrender date (Filing No. 105) is

              granted;

       2.     The Defendant shall report no later than 2:00 p.m. on Monday, February 6,

              2006, to the institution designated by the U.S. Bureau of Prisons;

       3.     The Clerk shall immediately hand-deliver a certified copy of this Order to the

              U.S. Marshal for this district.

       DATED this 6th day of January, 2006.

                                                    BY THE COURT:

                                                    s/Laurie Smith Camp
                                                    United States District Judge
